Linda White
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July 9, 2024

CLERK OF COURT

U.S. BANKRUPTCY COURT
PO BOX 70

WHEELING WV 26003

RE: OHIO VALLEY UNIVERSITY CASE NO: 22-000056

Due to my last correspondence, | should have received a publication of trustee's
final application for compensation that | needed to file a claim? | am writing this
letter to file an objection. It appears the deadline to submit a claim was on June 2,
2024 per Section 6 on page 2 (Trustee’s Final Report) that | recently received. |
have not received such a letter from the US Bankruptcy Court stating | was to file
your claim prior to the 6/2/2024 deadline. | have been exceptional well at my
record keeping during the bankruptcy regarding O.V.U. and bankruptcy court and
have not received this information.

Please, if you need more information from me, I do deeply appreciate a call. Years
ago, | was only wanting to help this Christian College and the students, and | am
so_ upset | this is the end result. | did try to secure my account monies for personal
reasons one year before it was announced that the college was in TROUBLE. |
NEVER received an email or returned phone calls to explain the situation from
0.V.U.

lam Incredibly sad that many of us have lost so much.
Best Regards,

Linda White

55 Private Drive 10010

Proctorville, Ohio 45669
304-412-9923

Mailed certified mailJuly. 9, 2024 at post office 8:35 am

Regular mail July 10, 2024 °~

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/24 Entered 07/15/24 13:38:35

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-00056 Doc 286

No. 5:22-bk

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